                                  UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF ARIZONA

                                                 Minute Entry
Hearing Information:
                   Debtor:   JBL RESTAURANT INVESTMENTS, INC
             Case Number:    4:22-BK-00886-BMW        Chapter: 7

       Date / Time / Room:   THURSDAY, JANUARY 19, 2023 10:15 AM VIDEO CONF HRGS

      Bankruptcy Judge:      BRENDA M. WHINERY
          Courtroom Clerk:   REBECCA VOLZ
           Reporter / ECR:   SHARON GIFFORD                                                      0.00


Matter:
          EXPEDITED HEARING RE: MOTION TO VACATE CONVERSION ORDER AT DKT. 108 PURSUANT TO FRBP
          9024, FRCP RULE 60(b)(1) and 60(b)(6)
          R / M #: 154 / 0



Appearances:

     JODY CORRALES, REPRESENTING THE DEBTORS AND APPEARING BY VIDEOCONFERENCE
     JAMES LATTA, APPEARING BY VIDEOCONFERENCE
     ADAM NACH, REPRESENTING THE CHAPTER 7 TRUSTEE AND APPEARING BY
     VIDEOCONERENCE
     TRUDY NOWAK, CHAPTER 7 TRUSTEE, APPEARING BY VIDEOCONFERENCE
     LYNTON KOTZIN, FORMER SUBCHAPTER V TRUSTEE, APPEARING BY VIDEOCONFERENCE
     RENEE SHAMBLIN, REPRESENTING THE U.S. TRUSTEE AND APPEARING BY
     VIDEOCONFERENCE




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Proceedings:                                                                                               1.00


          Ms. Corrales reports that circumstances have changed since this motion was filed. The debtor,
          JBL Restaurant Investments, Inc. ("JBL"), had hoped to come to an agreement with the
          landlord to continue to operate in the space. It is now clear that the landlord and the debtor
          will not be able to come to an agreement. There is no prospect for reopening the restaurant at
          this time. She is withdrawing the motion to vacate the conversion order as to both debtors.
          The individual debtors are considering dismissal or conversion to a Chapter 13. JBL is
          considering dismissal as well.

          Mr. Nach reports that the trustee does not oppose the withdrawal. The trustee has a potential
          conflict with the Latta estate. A new Chapter 7 panel trustee will be appointed for the Latta
          case.

          Ms. Shamblin confirms that the U.S. Trustee's Office is currently working to appoint a new
          Chapter 7 trustee for the Latta case.

          COURT: THE MOTION TO VACATE IS WITHDRAWN. A STATUS HEARING IS SET FOR
          FEBRUARY 14, 2023 AT 10:00 A.M. THE CASES FOR JBL RESTAURANT INVESTMENTS, INC
          AND THE LATTAS ARE JOINTLY ADMINISTERED. DEPENDING UPON HOW THIS CASE
          PROCEEDS, THE PARTIES MAY NEED TO CONSIDER DISSOLVING THE JOINT
          ADMINISTRATION.

          The Court notes that Mr. Nye was still filing operating reports after he was no longer counsel
          of record.

          Ms. Corrales states that she will discuss that with Mr. Nye.




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